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    Missing or Incorrect Data? Visit levelset.com/talk/ - Reference Number: 3006246

                TEXAS NON-RESIDENTIAL MONTHLY NOTICE

Original Contractor:
Panache Development & Construction, inc.
3443 Ed Bluestein                                 Notifying Party:
Austin, Texas 78724                               Austin Glass & Mirror Inc
                                                  6308 Decker Lane
Owner:                                            Austin, Texas 78724
Panache Development and Construction
4210 Spicewood Springs Rd                         Hiring Party:
Austin, Texas 78759                               Panache Development & Construction, inc.
3443 ZEN GARDEN LIMITED PARTNERSHIP               3443 Ed Bluestein
PO BOX 26539                                      Austin, Texas 78724
Austin, Texas 78755
                                                  Month for which you are receiving this Notice:
                                                  October

                                                  Amount unpaid for work performed, or
                                                  materials delivered, in the above month:
                                                  230,000.00

                                                  Total Amount Due to Claimant to date:
                                                  708,374.14

Property where improvements and/or construction is being performed by the Notifying Party is
described as follows (the "Property"): 3443 Ed Bluestein Blvd, Austin, Texas 78721; County of:
Travis County, Texas.

Description of work performed by the Notifying Party (the "Services"):
Furnishing and installing aluminum storefront, curtainwalls and glass& glazing

                 IMPORTANT INFORMATION ON FOLLOWING PAGE




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THIS IS NOT A LIEN. This notice is provided to inform you that the herein-identified Notifying Party
has performed the herein-identified Services on the herein-identified Property, and specifically, that
in regards to the same, the Notifying Party is owed money by the hiring party on the account for said
Services. As of the date of this notice, the amount currently due to the Notifying Party is herein-
identified as the "Total Amount Due to Claimant to Date". The total due for the specific month for
which this Notice has been sent, is identified as "Amount unpaid for work performed, or materials
delivered, in the above month".

To preserve our rights under Texas law, we are required to inform you that if the claim remains
unpaid, the owner may be personally liable and the owner’s property may be subjected to a lien
unless:

(1) the owner withholds payments from the contractor for payment of the claim; or
(2) the claim is otherwise paid or settled.

Further, PLEASE TAKE NOTICE that the Notifying Party makes demand upon you for payment of
the Total Amount Due to Claimant to Date under Texas Property Code § 53.083, and requests that
you forward to it any funds held for the Original Contractor to pay this claim, unless the Original
Contractor provides written notice within 30 days that the contractor intends to dispute the claim. All
or part of the claim has accrued under Section 53.053 or is past due according to the agreement
between the Notifying Party and Hiring Party.

                                                                                             Signature:




                                                                    Signed by: Kris von Rosenberg
                                               Authorized Representative of Austin Glass & Mirror Inc
                                                                           Dated: January 15, 2020




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        REMOVABLE ITEM         LOCATION              FUNCTION IN SYSTEM          REMOVAL PROCEDURE              DAMAGE/BUILD BACK   REASONING
                               (BUILDING &                                                                      REQUIRED
                               ROOM)

1       1" insulated glass     In wood crates in     glass for windows           load crates onto trailer and   none                Has not been installed in the building
                               parking garage. Not                               remove from job
                               installed




2       Insulation for glass   Stored in Parking     Insulation for spandrel     load crates onto trailer and   None                Has not been installed in the building
                               garage                glass                       remove from job




3       Pair of glass doors    Front lobby, first    Exterior doors into lobby   Unhook hinges and              None                Interior doors will close the building to
                               floor                                             remove doors                                       the exterior




4       Aluminum framing       Building H. South     Exterior storefront and     Remove glass and unbolt        None                Building H is completely open to
        and glass              elevation             curtainwall                 framing                                            weather on the other sides of the
                                                                                                                                    building and interior finish work on
                                                                                                                                    Building H has not begun




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